

People v Weston (2019 NY Slip Op 07747)





People v Weston


2019 NY Slip Op 07747


Decided on October 29, 2019


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on October 29, 2019

Manzanet-Daniels, J.P., Mazzarelli, Webber, Oing, JJ.


10236 3361/15

[*1] The People of the State of New York, Respondent,
vDale Weston, Defendant-Appellant.


Robert S. Dean, Center for Appellate Litigation, New York (Jody Ratner of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Joseph Capraro of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, Bronx County (Shari R. Michels, J.), rendered October 30, 2017,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgment so appealed from be and the same is hereby affirmed.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: OCTOBER 29, 2019
CLERK
Counsel for appellant is referred to
§ 606.5, Rules of the Appellate
Division, First Department.








